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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION

                                                 )
In re:                                           )      Chapter 11
                                                 )
Americore Holdings, LLC, et al., 1               )      Case No. 19-61608-grs
                                                 )
         Debtors.                                )      Jointly Administered
                                                 )
                                                 )      Honorable Gregory R. Schaaf
                                                 )


                 AGREED ORDER APPOINTING CHAPTER 11 TRUSTEE

         THIS MATTER came before the Court upon the United States Trustee’s Motion to

Appoint a Trustee or Examiner Under § 1104 or to Dismiss the Cases [ECF No. 166], the

Official Committee of Unsecured Creditors’ Motion for Appointment of Chapter 11 Trustee

[ECF No. 171], the Motion to Remove Grant White as Chief Executive Officer for the

Debtors and for Appointment of Trustee [ECF No. 191] filed by Third Friday Total Return

Fund, LP, and the Limited Joinder of Pelorus Equity Group, Inc. in Motions of United

States Trustee and Official Committee of Unsecured Creditors for the Appointment of a

Trustee Under § 1104 and Reservation of Rights [ECF No. 206] (collectively referred to

as the “Trustee Motions”). On February 14, 2020, the Official Committee of Unsecured

Creditors (the “Committee”) filed a transcribed agreement of Grant White on behalf of the




1The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification
numbers in parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore
Health Enterprises, LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate,
LLC (8799); Ellwood Medical Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard
County Medical Center, LLC (3388); Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610);
and St. Alexius Hospital Corporation #1 (2766).
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Debtors agreeing to the appointment of a Chapter 11 Trustee in these cases [ECF No.

220].

        By submitting the proposed order in this form, counsel for the Committee has

represented that the Debtors (by and through Grant White and their counsel) and the

United States Trustee, Third Friday Total Return Fund, LP, and Pelorus Equity Group,

Inc., by and through their counsel, have agreed to the entry of this Order. For good cause

shown,

        It is ORDERED:

        1.    The Trustee Motions are GRANTED as provided in this Order.

        2.    The United States Trustee is directed to immediately appoint a Chapter 11

Trustee in these jointly-administered cases.

        3.    All alternative relief sought by the United States Trustee in ECF No. 166 is

denied without prejudice.

Prepared by:

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___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                 Signed By:
                                                                 Gregory R. Schaaf
                                                                 Bankruptcy Judge
                                                                 Dated: Thursday, February 20, 2020
                                                                 (grs)
